






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00528-CR






Felix Mosqueda, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF CALDWELL COUNTY, 274TH JUDICIAL DISTRICT


NO. 99-028, HONORABLE GARY L. STEEL, JUDGE PRESIDING







	Appellant Felix Mosqueda appeals from his convictions for indecency with a child
and for aggravated sexual assault of a child.  See Tex. Pen. Code Ann. §§ 21.11(a)(1),
22.021(a)(1)(B)(i)(2)(B) (West Supp. 2002).  The jury assessed appellant's punishment for indecency
with a child at imprisonment for twenty years and a fine of $1,000 and for aggravated sexual assault
of a child at imprisonment for forty years and a fine of $1,000.  Appellant asserts that the evidence
is legally and factually insufficient and that his trial counsel was ineffective.  We will affirm the
judgment.


Background

	In the evening of July 18, 1998, Geneva Alvarez took her five-year-old daughter C.G.,
the victim of the alleged offenses, and her seven-year-old son to stay overnight with her mother, the
children's grandmother, Yolanda Alvarez.  Yolanda was living with  appellant.  That night, Yolanda
and her grandchildren slept on the living room floor.  Appellant slept in his bedroom.  Yolanda got
up early in the morning to go to work and left the house while the children were sleeping.

	C.G., who was eight years old at the time of trial, testified that she was awakened
when appellant touched her "private" with his hand underneath her panties.  By "private," C.G.
testified she meant that "hole in your body that you pee-pee from."  When she was asked if
appellant's finger went inside the hole, she replied that it did not.  C.G. was afraid appellant would
hurt her; she cried and told him to stop and he did.  Appellant was not wearing a shirt; he was
wearing only his underwear.

	At about 7:30 a.m., Geneva came to get her children.  Yolanda was not there. 
Appellant told Geneva that C.G. had been crying and that he had to lie down with her to keep her
from crying.  As Geneva and her children were driving away from her mother's house, her son said
his sister C.G. had been crying a lot.  C.G. was upset and told her mother that appellant "was doing
this to me."  C.G. "holding on to herself" in her "private area" told her mother, "[h]e did this to me;
he did this inside of me with his fingers and his hand."  By gestures, C.G. showed her mother that
appellant had put two fingers inside of her female sexual organ.  Geneva consulted with her husband
and then took C.G. to the sheriff's office.  Geneva made a written statement to Caldwell County
Deputy Sheriff James Blanton.  Blanton did not interview C.G. because he knew she would later
have a videotaped interview.  Blanton accompanied Geneva when she took C.G. to the Central Texas
Medical Center in San Marcos for an examination.

	Medical records relating to the examination of C.G. were admitted in evidence.  The
records included the notes of the "Primary Care Nurse."  The nurse noted that C.G. complained of
a sexual assault.  C.G. told the nurse that while staying overnight at her grandmother's house, her
grandmother's boyfriend had put his hand under her panties.  C.G. showed the nurse how appellant
had put two of his fingers in her vagina.  In her examination of C.G., the nurse noted C.G. was crying
and in her vaginal examination of C.G. the nurse noticed "some redness to labia."  

	Dr. Randolph Skyboldt, a certified emergency room physician at the hospital,
examined C.G.  Dr. Skyboldt testified about his examination of C.G. and about the hospital records. 
Dr. Skyboldt testified that C.G. complained of pain in the left and right labia minora just inside the
female genitalia.  Dr. Skyboldt observed mild erythema meaning a mild but unexpected abnormal
redness and tenderness of the labia in the area about which C.G. complained.  Further, Dr. Skyboldt
testified:



  When you compare the history and statement made by C.G. and the results of
your examination of the child, can you make a diagnosis -- you made a
diagnosis; is that correct?



A:	Correct.


Q:	And your words are "child molestation"?


A:	Correct.


Q:	Now, sir, if it happened like the child told the nurse it did happen, that the
grandmother's boyfriend inserted two fingers inside the vaginal opening, in
other words, the female sexual organ of the child, were the things you saw in
your examination, the tenderness, the redness, consistent with sexual abuse
conduct in that manner?


A:	Yes.


Q:	But in fairness, you could not and cannot rule out other causes for the things you
saw, true?


A:	True.

	On July 23, 1998, Geneva took C.G. to the Child Advocacy Center in Austin.  Marcia
Wilson, the clinical director, interviewed C.G. about the matters leading to the charges against
appellant.  The interview was videotaped and Wilson testified that the videotape admitted in
evidence was accurate.  The tape was admitted without objection and exhibited to the jury.  Wilson
testified, and the videotape shows, that C.G. demonstrated with anatomically correct dolls that the
male doll's finger penetrated the female sexual organ of the female doll.  C.G. told Wilson that this
was what appellant did to her.  

	A two count indictment alleged that appellant intentionally and knowingly with his
hand touched a part of the genitals of C.G. with the intent to gratify his sexual desire and that
appellant penetrated the female sexual organ of C.G. with his finger.  


Insufficient Evidence Claim

	In his first point of error, appellant contends that the evidence is legally insufficient
to support the jury's verdict for either the offense of indecency with a child or aggravated sexual
assault of a child.  Specifically, appellant argues that the State failed to prove the allegation that he
penetrated the sexual organ of the victim with his finger. (1)

	In reviewing the legal sufficiency of the evidence, the relevant question is whether,
after viewing the evidence in the light most favorable to the prosecution, any rational trier of fact
could have found the essential elements of the crime beyond a reasonable doubt.  Jackson v.
Virginia, 443 U.S. 307, 319 (1979); Patrick v. State, 906 S.W.2d 481, 486 (Tex. Crim. App. 1995);
Aiken v. State, 36 S.W.3d 131, 132 (Tex. App.--Austin 2000, pet. ref'd).  The standard of review
is the same whether the evidence is direct, circumstantial, or both.  See Kutzner v. State, 994 S.W.2d
180, 184 (Tex. Crim. App. 1999); Banda v. State, 890 S.W.2d 42, 50 (Tex. Crim. App. 1994).  All
of the evidence that the jury was permitted, properly or improperly, to consider must be taken into
account in determining the legal sufficiency of the evidence.  Garcia v. State, 919 S.W.2d 370, 378
(Tex. Crim. App. 1994); also see Johnson v. State, 871 S.W.2d 183, 186 (Tex. Crim. App. 1993);
Rodriguez v. State, 939 S.W.2d 211, 218 (Tex. App.--Austin 1997, no pet.).

	Neither "female sexual organ" or "penetration" is statutorily defined.  However, the
Court of Criminal Appeals has determined the meaning of these terms as used in the aggravated
sexual assault statute.  See Tex. Pen. Code Ann. § 22.021.  (West Supp. 2002).


[P]ushing aside and reaching beneath a natural fold of skin into an area of the body
not usually exposed to view, even in nakedness, is a significant intrusion beyond
mere external contact.  Consequently, it is not ungrammatical to describe appellant's
touching of complainant in this case as a penetration, so long as contact with the
injured part of her anatomy could reasonably be regarded by ordinary English
speakers as more intrusive than contact with her outer vaginal lips.  For this reason,
we think the phrase "penetration . . . female sexual organ" is fairly susceptible of an
understanding which includes the kind of touching proven in this case.



Vernon v. State, 841 S.W.2d 407, 409 (Tex. Crim. App. 1992); Rodda v. State, 926 S.W.2d 375, 378
(Tex. App.--Fort Worth 1996, pet. ref'd); see also Oliva v. State, 942 S.W.2d 727, 730 (Tex.
App.--Houston [14th Dist.] 1997), pet. dism'd improvidently granted, 991 S.W.2d 803, 804 (Tex.
Crim. App. 1998); Jones v. State, 900 S.W.2d 392, 399 (Tex. App.--San Antonio 1995, pet. ref'd). 
"Penetration, within the meaning of Section 22.021 of the Penal Code, occurs so long as contact with
the female sex organ could reasonably be regarded . . . as more intrusive than contact with the outer
vaginal lips."  Karns v. State, 873 S.W.2d 92, 96 (Tex. App.--Dallas 1994, no pet.) (citing Vernon,
841 S.W.2d at 409).  Touching beneath the fold of the external genitalia amounts to penetration
within the meaning of the aggravated sexual assault statute.  Id. at 96.  Penetration of the vaginal
canal is not required to prove penetration.  Id.  "Female sex organ" is more general than "vagina"
and refers to the entire female genitalia including both vagina and vulva.  Aylor v. State, 727 S.W.2d
727, 729 (Tex. App.--Austin 1987, pet. ref'd).

	Here, the victim was awakened with the appellant's hand underneath her panties.  As
soon as she was out of appellant's presence, C.G. made an immediate outcry to her mother; C.G.
gesturing with two fingers showed her mother that appellant had put his fingers in her female sexual
organ.  C.G. showed the hospital nurse how appellant had put two fingers in her female sexual organ. 
When the nurse examined C.G., she found some redness of the labia.  C.G. complained to the
emergency room physician of the pain of the right and left labia minora.  The physician found
tenderness and redness of the labia minora; these conditions and C.G.'s complaint were consistent
with "sexual molestation."  With anatomically correct dolls, C.G. demonstrated for the clinical
director of the Travis County Children's Advocacy Center how appellant penetrated her sexual organ
with his finger.  

	We conclude that the direct and circumstantial evidence when viewed in the light
most favorable to the prosecution supports a rational finding that the essential elements of the
charged offenses were proved beyond a reasonable doubt.  The verdict of the jury, the finder of fact,
is supported by legally sufficient evidence.  Appellant's first point of error is overruled.

	In his second point of error, appellant complains that the evidence is factually
insufficient to support the jury's verdict finding him guilty of indecency with a child and aggravated
sexual assault of a child.  Appellant argues that the evidence is factually insufficient because the
redness of the victim's female sexual organ can be explained by evidence other than digital
penetration. (2)

	In a factual sufficiency review, we are required to give deference to the jury's verdict
and examine all of the evidence impartially, setting aside the jury verdict "only if it is so contrary
to the overwhelming weight of the evidence as to be clearly wrong and unjust."  Cain v. State, 958
S.W.2d 404, 410 (Tex. Crim. App. 1997); Clewis v. State, 922 S.W.2d 126, 129 (Tex. Crim. App.
1996).  The complete and correct standard a reviewing court must follow to conduct a Clewis factual
sufficiency review is to determine whether a neutral review of all of the evidence, both for and
against the finding, demonstrates that the proof of guilt is so obviously weak as to undermine
confidence in the jury's determination, or the proof of guilt, although adequate if taken alone, is
greatly outweighed by contrary proof.  Johnson v. State, 23 S.W.3d 1, 11 (Tex. Crim. App. 2000).

	We will consider the additional evidence.  Appellant testified in his own defense and
offered the testimony of Yolanda Alvarez and of his landlord and neighbor Otto Ewald.  Appellant 
testified that he had lived in a trailer house owned by Ewald for about nine years.  Yolanda had lived
with him for about six years.  Appellant had been disabled and unable to work for about five years 
due to a dislocated shoulder joint.  Also, appellant testified that he had had three strokes and had
high blood pressure that prevented him from having his shoulder surgically repaired.  Following his 
strokes, he had carotid artery surgery.  Appellant testified that his strokes left him without the ability
or desire to have sex with a woman.  Appellant denied that he had ever placed his hand on, or put
his finger in, the victim's vagina.  On the occasions when Geneva's children spent the night at
appellant's house, they slept on the floor because of C.G.'s bed-wetting problem.  Further, appellant
testified that he could not get down on the floor and then get up without assistance.  Appellant
attributed blame for the charges being brought against him to Geneva.  Appellant testified Geneva
instigated the complaint against him so that her mother would come and live with her and baby-sit
her children.

	Otto Ewald testified that appellant rented a trailer house from him and that they had
been neighbors for about ten years.  Ewald lived about 100 yards from appellant.  Ewald testified he
himself had a heart condition that kept him near his house; he was aware of appellant's health
problems resulting from his stroke, neck surgery, and partial paralysis.  

	Yolanda Alvarez lived with and had a relationship with appellant that began before
his first disabling stroke.  Yolanda testified that appellant also suffered from high blood pressure and
sugar diabetes.  Yolanda also testified that, due to his failing health, appellant walked with a cane
and was unable to get down on the floor and get back up unassisted.  Since his stroke in the summer
of 1998, appellant's sex life was diminished to a point where Yolanda found it necessary for her to
be the aggressor in initiating sexual activity.  However, Yolanda testified that if she worked at it
appellant could have sex; at times, he would initiate the romance and contact.  

	The night before the alleged offenses when Yolanda was bathing her grandchildren
she noticed that C.G. had a rash that Yolanda thought might be caused by bed wetting.  Yolanda
applied Vaseline to the rash.  Yolanda took C.G. to the bathroom during the night so C.G. would not
urinate in her sleep.  

	After examining all of the evidence impartially and giving deference to the jury's
verdict, we conclude that the jury's verdict is not so contrary to the overwhelming weight of the
evidence as to be clearly wrong and unjust.  Moreover, from our neutral review of all of the evidence
both for and against the jury's verdict, we find it fails to show that the proof of appellant's guilt is
so obviously weak as to undermine confidence in the jury's determination, or that the proof of guilt,
although adequate if taken alone, is greatly outweighed by contrary proof.  The evidence is factually
sufficient to support the jury's verdict.  Appellant's second point of error is overruled.


Assistance of Counsel

	In his third point of error, appellant urges that his trial counsel was ineffective for not
presenting medical testimony about his health problems.  Appellant faults his trial counsel for failing
to call physicians and presenting evidence that his strokes could have decreased or eliminated his
"sexual drive."  Further, appellant contends that if his sexual desire had decreased, he would have
had no desire "to touch any female sexually."  

	To show ineffective assistance of counsel, appellant must show that: (1) counsel's
performance was deficient, in that counsel made such serious errors that he was not functioning
effectively as counsel; and (2) the deficient performance prejudiced the defense to such a degree that
appellant was deprived of a fair trial.  Strickland v. Washington, 466 U.S. 668, 687 (1984); Cardenas
v. State, 30 S.W.3d 384, 391 (Tex. Crim. App. 2000); Hernandez v. State, 726 S.W.2d 53, 57 (Tex.
Crim. App. 1986); Shaw v. State, 874 S.W.2d 115, 118 (Tex. App.--Austin 1994, pet. ref'd). 
Appellant bears a heavy burden to prove his ineffective assistance claim.  Strickland, 466 U.S. at
690.  Counsel is strongly presumed to have provided adequate assistance and to have made all
significant decisions in the exercise of reasonable professional judgment.  Id.

	A defendant does not waive his constitutional right to effective assistance of counsel
by failing to raise that issue in the trial court.  Robinson v. State, 16 S.W.3d 808, 812 (Tex. Crim.
App. 2000).  However, rarely will the record on direct appeal be sufficient to prove that counsel's
performance was deficient.  Id. at 813 n.7; Thompson v. State, 9 S.W.3d 808, 813-14 (Tex. Crim.
App. 1999).  To defeat the presumption that reasonable professional assistance was rendered, any
allegation of ineffectiveness must be firmly found in the record.  Id. at 814; McFarland v. State, 928
S.W.2d 482, 500 (Tex. Crim. App. 1996).

	Appellant's contention raised on appeal finds no basis in the record; appellant's
argument on appeal is purely speculative; it fails to show counsel's alleged ineffectiveness.  The
record does not show that medical evidence was available to prove appellant's contention.  We must
"indulge a strong presumption that counsel's conduct falls within the wide range of reasonable
representation."  McFarland, 928 S.W.2d at 500.  Appellant has failed to overcome the strong
presumption that trial counsel was acting effectively.  See Oldham v. State, 977 S.W.2d 354, 363
(Tex. Crim. App. 1998); Gravis v. State, 982 S.W.2d 933, 937 (Tex. App.--Austin 1998, pet. ref'd). 
Appellant has failed to demonstrate that his trial counsel's performance was deficient or that his
defense was prejudiced to the degree that he was deprived of a fair trial.  Appellant's third point of
error is overruled.

	The judgment is affirmed.



					__________________________________________

					Carl E. F. Dally, Justice

Before Chief Justice Aboussie, Justices B. A. Smith and Dally*

Affirmed

Filed:   June 21, 2002

Do Not Publish







*	Before Carl E. F. Dally, Presiding Judge (retired), Court of Criminal Appeals, sitting by
assignment.  See Tex. Gov't Code Ann. §&nbsp;74.003(b) (West 1998).
1. &nbsp;&nbsp;Appellant argues that in this case,


the evidence is legally insufficient to support the verdict of guilt as to the
allegations of aggravated sexual assault by penetration of the sexual organ of
C.G. by means of the finger of Felix Mosqueda because even after viewing the
evidence in the light most favorable to the prosecution no trier of fact could have
found that there was penetration.  In the child's own words during sworn
testimony, she denied that Felix Mosqueda stuck his fingers in her female sexual
organs.  Also, the Child Advocacy interviewer, Marcia Wilson, without leading
the child merely elicited a 'that's it' when talking with C.G.  It was not until Ms.
Wilson directed C.G. to pick up the demonstration dolls and the male doll's pants
fell off did C.G. put the male doll's hand on the female doll's sexual organ.  The
video interview does not clearly and unequivocally show penetration.
2. &nbsp;&nbsp;Appellant argues that,


when reviewing the issue of factual sufficiency of the evidence, Dr. Skyboldt did
not explicitly testify that the only cause of redness on the female sexual organ of
C.G. came from digital penetration.  He testified that bed wetting could also
cause such mild redness.  His testimony coupled with the testimony of the
grandmother that C.G.'s private area was red on the night of July 18, 1998, to the
point that she medicated the area with Vaseline, tips the scale in favor of a not
guilty verdict when weighed on appeal for factual sufficiency.


